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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

__________________________________________
CONFEDERATED TRIBES OF THE CHEHALIS )
RESERVATION, ET. AL.                       )
                              Plaintiffs,  )
                                           )
                  v.                       )                 No. 1:20-cv-01002-APM
                                           )
STEVEN MNUCHIN, SECRETARY, UNITED          )
STATES DEPARTMENT OF THE TREASURY )
                              Defendant.   )
                                           )

  BRIEF OF AMICI CURIAE, NATIONAL CONGRESS OF AMERICAN INDIANS,
  AFFILIATED TRIBES OF NORTHWEST INDIANS, ALL PUEBLO COUNCIL OF
 GOVERNORS, CALIFORNIA TRIBAL CHAIRPERSON’S ASSOCIATION, GREAT
PLAINS TRIBAL CHAIRMEN’S ASSOCIATION, INTER TRIBAL ASSOCIATION OF
    ARIZONA, INTER-TRIBAL COUNCIL OF THE FIVE CIVILIZED TRIBES,
 MIDWEST ALLIANCE OF SOVEREIGN TRIBES, UNITED SOUTH AND EASTERN
   TRIBES SOVEREIGNTY PROTECTION FUND, NATIONAL INDIAN GAMING
 ASSOCIATION, ARIZONA INDIAN GAMING ASSOCIATION, AND CALIFORNIA
 NATIONS INDIAN GAMING ASSOCIATION IN SUPPORT OF THE PLAINTIFF’S
    MOTION FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY
                            INJUNCTION

                                       INTRODUCTION

       Amici Curiae are national and regional organizations of federally recognized Indian tribes

(“Amici Curiae”). They submit this brief in support of the Motion for Temporary Restraining

Order and Preliminary Injunction of the Plaintiffs, Confederated Tribes of the Chehalis

Reservation; Tulalip Tribes; Houlton Band of Maliseet Indians; Akiak Native Community;

Asa’Carsarmiut Tribe; Aleut Community of St. Paul Island; the Navajo Nation; Quinault Indian

Nation; Pueblo of Picuris; Elk Valley Rancheria, California; and San Carlos Apache Tribe

(collectively the “Plaintiffs”). By their Motion, the Plaintiffs seek to prevent Steven Mnuchin, the

Secretary of the United States Department of the Treasury (the “Secretary”) from unlawfully

distributing up to $8,000,000,000 of “Tribal government” relief funds appropriated in the
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Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”) to non-government,

privately owned, Alaska Native regional corporations and Alaska Native village corporations

(collectively, “ANCs”) chartered under state law. Title V of the CARES Act establishes a

coronavirus relief fund (“CRF”) for state, local and Tribal governments, intended to stabilize all

such “governments,” and cover unexpected public health and emergency costs “with respect to the

Coronavirus Disease 2019 (COVID-19).”1 The Plaintiffs’ motion should be granted to ensure that

these urgently needed funds for Tribal governments are properly allocated to federally recognized

Indian tribes, including Alaska Native villages, as intended by Congress, and not redirected to

instead benefit for-profit ANCs.

         The goals of the Amici Curiae in this brief are to describe to the Court the nature and

characteristics of federally recognized Indian tribes and their unique government-to-government

relationship with the United States, to help the Court understand the breadth of essential

governmental services tribes provide, to describe the on-the-ground challenges tribes face in

providing such services in response to the COVID-19 pandemic, and to explain why any

disbursement of the CRF to the ANCs will completely undermine Congress’s intent to support the

needs of Indian tribal governments during this crisis.

                                          ARGUMENT

    I.       THE NATURE OF INDIAN TRIBES AND THEIR RELATIONSHIP TO THE UNITED
             STATES

         Indian tribes are governments “that exercise inherent sovereign authority over their

members and territories.” Oklahoma Tax Comm'n v. Citizen Band Potawatomi Indian Tribe of



1
 Section 601(g)(5), Title V, Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”),
Pub. L. No. 116-136, 134 Stat. 281 (2020), amending the Social Security Act, 42 U.S.C. 301 et
seq. The Amici Curiae adopt the same citation forms to the CARES Act as the Plaintiffs in their
Motion.
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Oklahoma, 498 U.S. 505, 509 (1991) (citing Cherokee Nation v. Georgia, 5 Pet. 1, 17 (1831));

accord Michigan v. Bay Mills Indian Cmty., 572 U.S. 782, 788 (2014). See generally COHEN’S

HANDBOOK     OF   FEDERAL INDIAN LAW §§ 1.06-1.07, at 2, § 4.01, at 206-08 (N. Newton & R.

Anderson eds., 2012) (“COHEN”). The sovereign authority that Indian tribes possess is “retained”

and “inherent;” it is not granted by the federal government. United States v. Wheeler, 435 U.S.

313, 322-23 (1978) (stating that “The powers of Indian tribes are, in general, ‘inherent powers of

a limited sovereignty which has never been extinguished,’” citing COHEN at 122); Talton v. Mayes,

163 U.S. 376, 384, (1896)). Rather, as the Supreme Court has explained, Tribes are “separate

sovereigns pre-existing the Constitution.” Santa Clara Pueblo v. Martinez, 436 U.S. 49, 56 (1978).

Tribes retain all attributes of their sovereignty that Congress has not divested. See, e.g., Bay Mills,

572 U.S. at 789; Kiowa Tribe of Okla. v. Mfg. Tech., Inc., 523 U.S. 751, 755–56 (1998); Wheeler,

435 U.S. at 323.

       A. The Sovereign Powers of Indian Tribes

       The Supreme Court has regularly confirmed the sovereign powers that Indian tribes retain,

including the inherent power “to make their own laws and be ruled by them.” Williams v. Lee,

358 U.S. 217, 220 (1959). As such, tribes retain the power to determine who is or is not a citizen

of the tribe, Santa Clara Pueblo, 436 U.S. at 55-56; to institute tribal employment preferences that

favor their own citizens under tribal law, see E.E.O.C. v. Peabody Western Coal, Co., 610 F.3d

1070 (9th Cir. 2010); to regulate domestic relations, including marital rights, child custody matters,

inheritance, and tort and contract disputes between tribal citizens, Santa Clara Pueblo, 436 U.S.

at 56 (citing cases); to establish courts to adjudicate civil disputes and criminal prosecutions, see

American Law Institute (“ALI”), RESTATEMENT OF THE LAW OF AMERICAN INDIANS, § 31 at 79

(Tentative Draft No. 2, March 13, 2018); and to exercise inherent sovereign authority over non-



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citizens within their territories in certain circumstances. See, e.g., id. § 34 at 79-80; The Violence

Against Women Act of 2013, Pub. L. 113-4, Title IX, sec. 904 (codified at 25 U.S.C. § 1304).

Like other governments, tribes also enjoy sovereign immunity, which the Court describes as “a

necessary corollary to Indian sovereignty and self-governance,” Three Affiliated Tribes of Fort

Berthold Reservation v. Wold Eng’g, 476 U.S. 877, 890 (1986), and which helps protect and

preserve their governance from frivolous suits. Indian tribes also have the inherent power to

engage in, and regulate, economic activity within their jurisdictions to “raise revenues to pay for

the costs of government.” Merrion v. Jicarilla Apache Tribe, 455 U.S. 130, 144 (1982); New

Mexico v. Mescalero Apache Tribe, 462 U.S. 324, 335-36 (1983). In much the same way that

states generate governmental revenues through a variety of enterprises, including liquor stores and

lotteries, Indian tribes exercise their sovereign authority to generate such revenues by operating

myriad enterprises, including tourism, timber harvesting, and gaming see, e.g. id. at 327 (“resort

complex” for recreational hunting and fishing); White Mountain Apache Tribe v. Bracker, 448

U.S. 136, 139 (1980) (“tribal enterprise that manages, harvests, processes, and sells timber”);

California v. Cabazon Band of Mission Indians, 480 U.S. 202, 219 (1986) (gaming enterprise).

Congress broadly encourages the enterprises of Indian tribes to flourish. See, e.g., 25 U.S.C. §

1521 (provisions of Indian Financing Act of 1974 establishing Indian business-development grant

programs); 25 U.S.C. §§ 4103(22), 4111, 4131 (provisions of the Native American Housing

Assistance and Self-Determination Act authorizing funding for tribally designated housing

authorities). It does so comprehensively for gaming pursuant to the Indian Gaming Regulatory

Act (“IGRA”), 25 U.S.C. §§ 2701-2721 (2006).

       Given the breadth and scope of Indian tribes’ sovereign powers, the Supreme Court

consistently admonishes that it “denigrates Indian sovereignty” to treat them as mere “private,



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voluntary organizations.” Merrion, 455 U.S. at 140-46 (quotations omitted) (citing United States

v. Mazurie, 419 U.S. 544, 557 (1975)); accord Bryan v. Itasca Cty., Minnesota, 426 U.S. 373, 388

(1976).

          B. The Federal Trust Responsibility Owed To Indian Tribes

          From the founding of our Nation, the Supreme Court has recognized that the federal

government has a unique trust obligation to protect tribal sovereignty and the power of self-

governance. This trust responsibility has its origins in the constitutional responsibility for Indian

affairs lodged in Congress, see U.S. CONST., art. I, § 8, cl. 3 (the “Indian Commerce Clause”), and

in Chief Justice Marshall’s foundational Indian law decisions interpreting that responsibility. See

Worcester v. State of Ga., 31 U.S. 515, 551-52, 555 (1832) (United States’ trust to Indian nations

involves “a nation claiming and receiving the protection of one more powerful: not that of

individuals abandoning their national character, and submitting as subjects to the laws of a

master”); see also Oneida County v. Oneida Indian Nation, 470 U.S. 226, 247 (1985) (discussing

trust doctrine). While the Supreme Court has interpreted the Indian Commerce Clause to give

Congress powers over Indian affairs, the political branches also have an obligation to protect

Indian tribes as governments. As such, the Executive Branch has historically recognized the

United States’ “unique trust relationship with Indian tribal governments” and the need to

“[s]upport tribal sovereignty and self-determination.” Exec. Order No. 13175, § 2 (a)-(b), 65 Fed.

Reg. 67, 249 (Nov. 9, 2000).

          This trust responsibility pervades the field to this day. Congress confirms that “[t]he United

States has a trust responsibility to each tribal government,” respecting “the sovereignty of each

tribal government,” and “through statutes, treaties, and the exercise of administrative authorities,

[Congress] has recognized the self-determination, self-reliance, and inherent sovereignty of Indian



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tribes.” 25 U.S.C. § 2601(2)-(3) (2001). The trust responsibility is mentioned in almost every

federal statute and executive order addressing Indian affairs. See, e.g., Indian Child Welfare Act,

25 U.S.C. § 1901 et seq., § 1901(2) (1978), and it undergirds a statute that is central to this case,

the Federally Recognized Indian Tribe List Act, Law 103-454, Nov. 2, 1994, 108 Stat. 479,

originally codified at 25 U.S.C. §§ 479a, 479a-1 (“the List Act”), now codified at 25 U.S.C.A. §

5131 where Congress announced: “the United States has a trust responsibility to recognized Indian

tribes, maintains a government-to-government relationship with those tribes, and recognizes the

sovereignty of those tribes.” P.L. 103-454 § 103(2), 25 U.S.C. § 479a Note.

       C. Federal Recognition of Indian Tribes

       Federal “recognition” (or “acknowledgement”) is of utmost importance to the government-

to-government relationship between Indian tribes and the United States and to their identity as

sovereigns. As explained in Plaintiffs’ Motion, “recognition is a legal term of art in federal Indian

law: Indian tribes [and their “governing bodies”] are recognized, while corporations [and their

boards] are not.” Plaintiff’s Motion (ECF No. 3) at 16 (emphasis in original).

       The Administrative process for federal acknowledgement states that its purpose as “to

determine whether a petitioner is an Indian tribe eligible for the special programs and services

provided by the United States to Indians because of their status as Indians,” 25 C.F.R. § 83.2, and

describes federal recognition as:

       (a) . . . a prerequisite to the protection, services and benefits of the Federal
           Governments available to those that qualify as Indian tribes and possess a
           government-to-government relationship with the United States
       (b) [meaning] the tribe is entitled to the immunities and privileges available to other
           federally recognized Indian tribes;
       (c) [meaning] the tribe has the responsibilities, powers, limitations, and obligations
           of other federally recognized Indian tribes; and
       (d) [subjecting] the Indian tribes to the same authority of Congress and the United
           States as other federally recognized Indian tribes.



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United States Department of the Interior, Procedures for Federal Acknowledgement of Indian

Tribes, 25 C.F.R. § 83 et seq., § 83.2 (2015). The statutory lynchpin for an Indian tribe “to exist”

is 25 U.S.C. § 5130, formerly codified at 29 U.S.C. § 479a(2). Section 5130 provides that “[f]or

the purposes of this title [Title 25 of the United States Code, ‘Indians’], . . .[t]he term ‘Indian tribe’

means any Indian or Alaska Native tribe, band, nation, pueblo, village or community that the

Secretary of the Interior acknowledges to exist as an Indian tribe.” 25 U.S.C.A. § 5130(2)

(emphasis added). Finally, in 1994, Congress enacted the List Act, which confirms the Interior

Secretary’s authority to recognize Indian tribes as described in the Federal Acknowledgement

regulations at 25 C.F.R. Part 83. Periodically, the Interior Department publishes a list of federally

recognized Indian tribes in the Federal Register.

        The List Act is, therefore, the means by which the federal government announces its

recognition of Indian tribes. The List Act provides: “The Secretary shall publish in the Federal

Register a list of all Indian tribes which the Secretary recognizes to be eligible for the special

programs and services provided by the United States to Indians because of their status as Indians.”

25 U.S.C.A. § 5131(a).

        The ALI’s distillation of federal Indian law fully buttresses the nature of federal

“recognition” (or “acknowledgement”) unique to Indian tribes (and having nothing to do with

private corporations):     the very definition of an Indian tribe turns on such recognition or

acknowledgment:

        § 2. Indian Tribe
        (a) An “Indian tribe” is any Indian or Alaska Native tribe, band, nation, pueblo, village, or
        community that either:
                (1)      the Secretary of the Interior; or
                (2)      Congress pursuant to its plenary authority
        has acknowledged to exist as an Indian tribe. 25 U.S.C. § 479a(2) [recodified at 25 U.S.C.
        §5130].

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ALI, RESTATEMENT OF THE LAW OF AMERICAN INDIANS, § 2 (Tentative Draft No. 1, April 22,

2015). See also id. § 2, Comment a, p. 32 (explaining the history of federal recognition, starting

with treaty-making and evolving to the current process ending in the listing of Indian tribes

pursuant to the List Act).

       The significance of “federal recognition” cannot be overstated since it is federal

acknowledgement that establishes a unique government-to-government relationship between the

recognized governing body of the Indian tribe and the United States, see Worcester v. State of Ga.,

31 U.S. at 557; Cherokee Nation v. State of Ga., 30 U.S. 1, 16–17 (1831) (Indian tribes are

“domestic dependent nations”), and (at least in that regard) brings the Indian tribes under the Indian

Commerce Clause of the Constitution as co-equal sovereigns with states and foreign nations. See,

e.g., State of R.I. v. Narragansett Indian Tribe, 19 F.3d 685, 694 (1st Cir. 1994) (stating “Federal

recognition is just that: recognition of a previously existing status[,] . . . that certain American

Indian tribes exist” with “retained sovereignty . . . predat[ing] the birth of the Republic.”) (citing

Santa Clara Pueblo v. Martinez, 436 U.S. 49, 56 (1978)).

       D. Alaska Native Corporations Are Not Tribal Governments or Indian Tribes

       As the Plaintiffs have pointed out in their motion, ANCs are not on the Interior

Department’s List. Nor do they possess any of the regulatory, adjudicatory or other sovereign

powers of Indian tribes described above, including (for example) sovereign immunity from suit,

see Aleman v. Chugach Support Services, 485 F.3d 206, 213 (4th Cir. 2007), or the right to exercise

government regulatory authority over tribal lands and citizens. Nor do they enjoy a “recognized”

government-to-government relationship with the United States as described above, or anything

that could possibly invoke the federal trust responsibility owed Indian tribes. For these reasons, it




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denigrates the dignity of Indian tribes, as sovereign governing entities, to suggest that ANCs are

Indian tribes or Tribal governments in any manner.

    II.       EVEN IN ORDINARY TIMES, INDIAN TRIBES STRUGGLE TO GENERATE
              GOVERNMENTAL REVENUES TO PROVIDE GOVERNMENTAL SERVICES TO THEIR
              CITIZENS.

          As governments with citizenries under their jurisdiction, federally recognized Indian tribes

within the United States routinely provide the whole range of governmental services to their

citizens, including, but not limited to, health and wellness programming, police and public safety,

courts, water and sewer infrastructure, fire protection, schools, sanitation and trash collection, road

maintenance, the creation and enforcement of building codes, zoning and land use planning, the

regulation of air and water quality, and wildlife management. But even before the current

pandemic, Indian tribes struggled to generate governmental revenues to provide these services

since states and localities already tax economic activity on tribal lands,2 all but ensuring an

additional tribal tax would cause double taxation and “discourage economic growth.” Bay Mills,

572 U.S. at 811 (Sotomayor, J., concurring); see id. at 807 (“Tribes face a number of barriers to

raising revenue in traditional ways”). Despite this, Tribal governments are responsible for funding

the same essential government services that United States citizens enjoy from the federal

government, and their respective state, and local governments.




2
  See, e.g., Montana Budget & Policy Center, Policy Basics: Taxes in Indian Country, Part 2, at 4
(Nov. 2017); Dep’t of Taxation & Fin. of N.Y. v.Milhelm Attea & Bros., Inc., 512 U.S. 61, 78
(1994) (approving state authority to tax cigarettes sold on the Seneca reservation); Okla. State Tax
Comm’n v. Citizen Band Potawatomi Indian Tribe of Okla., 498 U.S. 505, 507 (1991) (authorizing
state tax on sales of goods to nonmembers of Indian Tribes on land held in trust for the Tribe);
Washington v. Confederated Tribes of Colville Indian Reservation, 447 U.S. 134, 151-63 (1980)
(approving state cigarette and sales taxes on certain on-reservation purchases made by
nonmembers of Indian Tribes); Mashantucket Pequot Tribe v. Town of Ledyard, 722 F.3d 457,
477 (2d Cir. 2013) (authorizing town’s imposition of personal-property tax on gaming devices in
tribal casino).
                                                   9
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       In addition, as the 2003 report of the U.S. Commission on Civil Rights, Quiet Crisis:

Federal Funding and Unmet Needs in Indian Country, documented, the federal government has

historically failed “to carry out its promises and trust obligations.” U.S. Civil Rights Commission,

A Quiet Crisis: Federal Funding and Unmet Needs in Indian Country, July 2003). “These failures

included longstanding and continuing disregard for tribes’ infrastructure, self-governance,

housing, education, health, and economic development.” Id. Updating that report in December

2018, the Commission concluded:

       Federal funding for Native American programs across the government remains grossly
       inadequate to meet the most basic needs the federal government is obligated to provide.
       Native American program budgets generally remain a barely perceptible and decreasing
       percentage of agency budgets. Since 2003, funding for Native American programs has
       mostly remained flat, and in the few cases where there have been increases, they have
       barely kept up with inflation or have actually resulted in decreased spending power.

U.S. Civil Rights Commission, Broken Promises: Continuing Federal Funding Shortfall for

Native Americans, December 2018 at 4, 6 (citing U.S. Civil Rights Commission, A Quiet Crisis:

Federal Funding and Unmet Needs in Indian Country, July 2003).

       For these reasons, all federally recognized Indian tribes rely heavily on the earnings of their

tribal government-owned enterprises to fund the services to meet their citizens’ needs. Thus, as

of 2019, before the current crisis, Indian tribes’ gaming enterprises alone provided more than

$12,590,000,000 annually to support tribal governmental programs.3 However, “[n]early half of

federally recognized Tribes in the United States do not operate gaming facilities at all,” Bay Mills,

572 U.S. at 809 (citing A. Meister, Casino City's Indian Gaming Industry Report 28 (2009–2010

ed.) (noting that “only . . . 42 percent, of . . . federally recognized Native American tribes in the

U.S. operate gaming”)), and of that percentage, many are small and in remote areas. Thus, this



3
 Dupris Consulting Group, “Economic Impact Summary: The Nationwide Impacts of Indian
Gaming,” National Indian Gaming Association, 2019.
                                                 10
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figure only tells half the story since it does not account for those governmental needs of federally

recognized Indian tribes supported through revenues generated by non-gaming enterprises. And

as explained below, COVID-19 has shuttered virtually all tribal enterprises, gaming and non-

gaming, and the $8 billion at issue here, while critical to help sustain tribal governments through

this crisis, hardly represents an adequate amount of revenue to meet basic existing governmental

needs.

    III.       THE COVID-19 PANDEMIC HAS DEVASTATED THE ABILITY OF TRIBES TO
               GENERATE GOVERNMENTAL REVENUES, AND THE $8,000,000,000 RELIEF FUND
               CONGRESS HAS ALLOCATED TO INDIAN TRIBES IS INSUFFICIENT TO MEET THEIR
               MOUNTING NEEDS.

           The devastation besetting the Plaintiffs, as set forth in their Motion, ECF No. 3 at 12-13

and 31-33, is a story that is playing out across Indian Country. See Declaration of Maria Dadgar,

Executive Director of the Inter Tribal Association of Arizona, Inc., attached hereto as Exhibit A

(“Dadgar Decl”) ¶ 7; Declaration of Chuck Hoskin, Jr., Principal Chief of the Cherokee Nation

and President of the Inter-Tribal Council of the Five Civilized Tribes, attached hereto as Exhibit

B (“Hoskin Decl”) ¶ 6; Declaration of Michael Chavarria, Chairman of the All Pueblo Council of

Governors, attached hereto as Exhibit C (“Chavarria Decl”) ¶ 6; Declaration of Bo Mazzetti,

Chairman of the California Tribal Chairpersons’ Association, attached hereto as Exhibit D

(“Mazzetti Decl”) ¶ 6; and Declaration of Leonard Forsman, President of the Affiliated Tribes of

Northwest Indians, attached hereto as Exhibit E (“Forsman Decl”) ¶ 6.

           For example, all 21 federally recognized Tribes, who are members of amicus curiae Inter

Tribal Association of Arizona4, with lands in Arizona, as well as California, New Mexico, Nevada,



4
 The member tribes of the Inter Tribal Association of Arizona include: the Ak-Chin Indian
Community, the Cocopah Tribe, the Colorado River Indian Tribes, the Fort McDowell Yavapai
Nation, the Fort Mojave Indian Tribe, the Gila River Indian Community, the Havasupai Tribe, the
Hopi Tribe, the Hualapai Indian Tribe, the Kaibab Band of Paiute Indians, the Pascua Yaqui Tribe,
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and Utah, have exercised governmental authority to protect tribal citizens from the impacts of

COVID-19 by “promptly and voluntarily issu[ing] emergency orders on their reservations.”

Dadgar Decl. ¶ 4. These orders have “radically limited or shut down their tourism, gaming, and

other business enterprises,” the principal source of governmental revenues for these Tribes. Id.

This loss of revenue cripples the ability of these Indian tribes to “provide ongoing governmental

services to their community members, including but not limit to, public safety and policing, health

care, child care, elder assistance, food assistance, garbage and sanitation services, and many others

services.” Id. ¶ 5. In addition, and similar to the Plaintiffs, these 21 Indian tribes “have done their

best to mitigate the economic hardships they and their tribal members are experiencing, by (where

possible) providing paid leave and ongoing medical benefits to furloughed employees and

overtime pay to essential employees and emergency workers for as long as possible.” Id. ¶ 6. This

is the situation for Indian tribes everywhere, only by way of example: for some of the largest

tribes, in Oklahoma, see Hoskin Decl. ¶¶ 3-5, for the Pueblos of the Southwest, see Chavarria

Decl. ¶¶ 3-5; for the California Rancherias, see Mazzetti Decl. ¶¶ 3-5, and for the tribes of the

Pacific Northwest, see Forsman Decl. ¶¶ 3-5.

       American Indian and Alaska Native communities are among the poorest populations in the

United States, over 25 percent live in poverty with overcrowded housing conditions (sixteen times

worse than the national average) and high rates of diabetes, cancer, heart disease, and asthma.5



the Quechan Tribe, the Salt River Pima-Maricopa Indian Community, the San Carlos Apache
Tribe, the San Juan Southern Paiute Tribe, the Tohono O’odham Nation, the Tonto Apache Tribe,
the White Mountain Apache Tribe, the Yavapai-Apache Nation, the Yavapai-Prescott Indian
Tribe, and the Zuni Tribe.
5
  U.S. Civil Rights Commission, Broken Promises: Continuing Federal Funding Shortfall for
Native Americans, December 2018 at 156 – 157; Dana Hedgpeth, Darryl Fears and Gregory
Scruggs, Indian Country, where residents suffer disproportionately from disease, is bracing for
coronavirus, Washington Post, April 4, 2020, https://www.washingtonpost.com/climate-
environment/2020/04/04/native-american-coronavirus/
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Daily life for a majority of American Indians on reservations means “living without adequate

access to clean water, plumbing, electricity, internet, cellular service, roads, public transportation,

housing, hospitals, and schools.”6 Due to the geography of some reservations, tribal members

must travel great distances for work and basic necessities such as food and clothing. For example,

a majority of American Indians who live on the Pine Ridge Reservation in South Dakota commute

more than 50 miles to work and travel two hours to the nearest grocery store. 7 On the Navajo

Reservation, which is home to 300,000 people where one in every five adults has diabetes, the

average resident has to drive three hours to buy food at the grocery store.8 Thus, the COVID-19

pandemic only exacerbates the dire conditions of reservation life, a tinderbox for spread of the

infection. Tribal governments face a looming disaster that requires a rapid response, and the

funding that Congress intended for recognized tribal governments.

       A survey conducted by amicus curiae National Congress of American Indians (“NCAI”),

the largest, oldest, and most representative organization comprised of American Indian and Alaska

Native Tribal governments and their citizens, identified numerous health, education, and welfare

challenges due to the pandemic. See Declaration of Yvette Roubideaux, attached hereto as Exhibit

F (“Roubideaux Decl.”) ¶ 10-39. As Tribal economies continue to collapse and government

services and enterprises shut down in response to COVID-19, the financial needs of the Tribes

increase and these critical health and safety challenges go unmet. Id. at ¶ 15-16, 28-29, 31.




6
  U.S. Civil Rights Commission at 1.
7
  Id. at 1; Priya King, How Native Americans Are Fighting a Food Crisis, New York Times, April
13, 2020, https://www.nytimes.com/2020/04/13/dining/native-americans-coronavirus.html
8
  Matilda Kreider, 13 grocery stores: The Navajo Nation is a food desert, George Washington
University, Dec. 10, 2019, https://www.planetforward.org/idea/13-grocery-stores-the-navajo-
nation-is-a-food-desert
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       A significant challenge to public health identified by Tribal governments, including Alaska

Native villages, is a lack of COVID-19 point of care testing, treatment facilities and an inability to

provide protective medical equipment to health care workers. Id. at ¶ 11, 13, 34. For example,

the Navajo Reservation covers 27,000 square miles of Arizona, New Mexico, and Utah, and only

has 12 health care facilities.9 In Alaska Native villages, some citizens infected with COVID-19

need to be flown 100 miles to the nearest healthcare facility for treatment or are unable to receive

in-person medical care. Roubideaux Decl. at ¶ 13. The medical supply needs include, “N95

medical masks and COVID-19 testing kits, hand sanitizer, infrared non-contact thermometers,

toilet paper, disinfecting wipes, anti-viral surgical masks, gloves, booties, caps, face shields,

[goggles], hospital grade disinfectants, antibacterial soaps, and pharmaceuticals.” Id. at ¶ 34.

Tribal governments also state that additional funding is needed to address increased costs in

providing personal protective equipment for first responder personnel and deep cleaning expenses

for ambulance services after patient transport. Id at ¶ 29, 36-37. Food scarcity now threatens the

health of elders and children due to a reduction in food shipments by plane and ferry, funding caps

on federal food programs, and the closure of schools that provided daily lunch programs and

grocery stores. Id. at ¶ 13, 18, 21-22, 35. On the Pine Ridge Reservation, “shelves of the few

groceries empty out, shipments of food boxes are delayed because of supply chain disruptions, and

hunting and gathering are restricted by government regulations and environmental conditions.”10




9
  Kenzi Abou-Sabe, Cynthia McFadden, Christine Romo and Jaime Longoria, Coronavirus batters
the     Navajo   Nation, and     it’s   about    to   get    worse,    April     20,    2020,
https://www.nbcnews.com/health/health-news/coronavirus-batters-navajo-nation-it-s-about-get-
worse-n1187501.
10
   Priya King, How Native Americans Are Fighting a Food Crisis, New York Times, April 13,
2020, https://www.nytimes.com/2020/04/13/dining/native-americans-coronavirus.html.
                                                 14
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         Community infrastructure challenges include inadequacy (or complete absence) of

broadband Internet and capital equipment for telework, telehealth services, and for students to

conduct online learning while schools are closed. Id. at ¶ 17, 20, 23-24, 30, 33. Other community

infrastructure challenges include shortages of temporary housing for multi-generation households,

problems implementing proper sanitation methods in dwellings that lack running water, deficient

medical supplies needed for families to self-quarantine and shelter-in-place, increases in energy

costs from shelter-in-place orders, and a lack of community quarantine facilities. Id. at ¶ 21-28,

38-39.

          American Indian and Alaska Native communities already suffer from the highest rates of

poverty, unemployment and economic distress. The survey results described above demonstrate

that federally recognized Tribal governments face unprecedented challenges with significant

financial needs. As the COVID-19 disease continues to spread throughout Indian Country, these

needs and challenges will continue to adversely affect Tribal governments and their citizenry.

                                                ***

         As discussed above, less than one-half of the over 570 federally recognized tribal

governments have gaming operations and for that percentage, gaming revenues directly support

Tribal government services to the tune of nearly $13,000,000,000.11 Today, the doors of all of

those businesses are closed, while tribes undertake a massive expansion of essential governmental

services to protect and meet the basic needs of their citizens.




11
   List of Casinos State-by-State, 500Nations.com,
https://www.500nations.com/Indian_Casinos_List.asp (last visited April 19, 2020) reports 245
tribes as having gaming operations as of mid-2018.
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           It is, therefore, clear that the $8,000,000,000 relief fund at issue will not be sufficient to

meet the governmental needs of Indian tribes as a result of the COVID-19 pandemic. Tribal

governments will, in no time, be in dire straits if not already there.

     IV.        ALLOCATION OF COVID-19 RELIEF FUNDS TO ALASKA NATIVE CORPORATIONS
                WILL DEPRIVE INDIAN TRIBES OF CRITICALLY NEEDED FUNDS FOR THE
                PROVISION OF GOVERNMENTAL SERVICES TO THEIR CITIZENS.

           A. The Alaska Native Claims Settlement Act

           In 1971, Congress passed the Alaska Native Claims Settlement Act (“ANCSA”), 43 U.S.C.

§§ 1601 et seq., and resolved claims made by Alaska Natives to their lands in exchange for title to

over 40 million acres of land and almost one billion dollars. 43 U.S.C. §§ 1603, 1611, 1613; see

Martha Hirschfield, The Alaska Native Claims Settlement Act: Tribal Sovereignty and the

Corporate Form, 101 Yale L.J. 1331 (1992).

           ANCSA created two-tiers of corporations to hold title to settlement lands and to pay out

financial compensation in the form of dividends to Alaska Native shareholders. 43 U.S.C. § 1606-

1607. “These assets of the Natives would be administered through twelve regional corporations

and a village corporation in each Village.” H. Rep. 92-523, 1971 U.S.C.C.A. 2192, 2192 (1971).12

           While ANCSA provided for the establishment of these corporate entities to receive

significant resources, it left intact the 229 federally recognized Indian tribes at the village level,

which retain and exercise inherent sovereignty, provide governmental services to their citizens,

and have a government-to-government relationship with the United States as discussed above. See

Indian Entities Recognized by and Eligible To Receive Services From the United States Bureau of

Indian Affairs, 85 FR 5462-01 (Jan. 2020); see also Bureau of Indian Affairs, Office of Indian




12
  The Regional Corporations and Village Corporations are collectively be referred to herein as
“Alaska Native Corporations” or “ANCs.”
                                                    16
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Services, Tribal Leaders Directory, https://www.bia.gov/bia/ois/tribal-leaders-directory/ (last

visited April 21, 2020).

       B. Corporate Structure under ANCSA and the ANCs Operations

       ANCSA divided Alaska “into twelve geographic regions”, each to be administered by

separate private, for-profit corporations, known as “regional corporations.” 43 U.S.C. 1606(a),

(d). The regional corporations were required to “incorporate under the laws of Alaska . . . to

conduct business for profit.” Id. at 6206(d). Apart from the twelve regional corporations, in order

to receive settlement benefits, ANCSA required the creation of village corporations to develop

natural resources at local levels, and, like the regional corporations, these corporate entities had to

be organized as “corporation[s] under the laws of the State.” Id. at § 6207(a).

       As with any state incorporated business entity, ANCs are controlled by boards of directors

that are elected by shareholders, see 43 U.S.C. § 1606(f), and ANCs “do not possess a government-

to-government relationship with the federal government.” NCSA Reg’l Ass’n, Overview of

Entitles Operating in the Twelve Regions, available at https://ancsaregional.com/overview-of-

entities/#village-corporations (last visited April 19, 2020).

       Today, there are more than 200 ANCs, including regional and village corporations. The

twelve regional corporations include: Aleut Corporation; Arctic Slope Regional Corporation

(“ASRC”); Bering Straits Native Corporation; Bristol Bay Native Corporation (“BBNC”); Calista

Corporation; Chugach Alaska Corporation (“Chugach”); Cook Inlet Region, Inc. (“CIRI”);

Doyon, Ltd.; Koniag, Inc.; NANA Regional Corporation; and Sealaska Corporation. See ANCSA

Reg’l Ass’n, The Twelve Regions, https://ancsaregional.com/the-twelve-regions/ (last visited April

19, 2020).




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       ANCs and their subsidiaries deliver shareholder profits through involvement in a number

of industries, including construction, environmental services, government contracting, natural

resource development, technology services, and many others. ANCSA Reg’l Ass’n, Economic

Impacts, available at https://ancsaregional.com/economic-impacts/ (last visited April 19, 2020). It

is within this for-profit corporate world that ANCs generate prolific levels of corporate revenue

for the benefit of their shareholders. However, they have no statutory obligation to provide any

benefit directly to Alaska Native Tribal governments.

       Over the past two years, revenues for regional corporations have ranged from

approximately $250 million into the billions of dollars, with Arctic Slope Regional Corporation,

one of the top 200 largest private companies in the United States, reporting $3.4 billion of revenue

in   2019      alone.    Id.;   Forbes,     Arctic    Slope     Reg’n     Corp.,    available     at

https://www.forbes.com/companies/arctic-slope-regional-corporation/#175fc5e2982c (last visited

April 19, 2020). Annual revenues at the village corporation level can average above $50 million.

See Alaska Native Village Corp. Ass’n, ANVCA Members, available at https://anvca.biz/anvca-

members (last visited April 19, 2020). Corporate giants of this magnitude ordinarily maintain

significant payrolls and ANCs are no different. The largest ANCs, including ASRC and NANA

Regional Corporation, each employ between 13,000-16,000 individuals around the world and

largely outside of Alaska. Res. Dev. Council, Alaska Native Corporations, available at

https://www.akrdc.org/alaska-native-corporations (last visited April 19, 2020).

       C. Completion of the Certification by ANCs

       As set forth in the Plaintiffs’ Motion, the “Certification for Requested Tribal Data”

(“Certification”) that the Department of Treasury (“Treasury”) required Indian tribes to complete

to tap the $8,000,000,000 funds for Tribal governments invited ANCs to submit applications for



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those funds. This means not only that these giant private corporations are poised to siphon off

funds that can only begin to ameliorate the needs of Tribal governments in this time of crisis, but

will also create funding inequities that will compound the current problems faced by federally

recognized Tribal governments, the true intended beneficiaries of the CFR.

       The Certification requires that a requesting entity provide the following information:

   1. “Name of Indian Tribe”, “Population: Total number of Indian Tribe
      Citizens/Members/Shareholders”,
   2. “Land Base: Total number of land acres held by the Indian Tribe and any tribally-owned
      entity (to include entities in which the Indian Tribe maintains at least 51% ownership) as
      of January 1, 2020 (to include lands held in trust by the United States, owned in restricted
      fee status, owned in fee, or selected pursuant to the Alaska Native Claims Settlement Act),
   3. “Employees: Total number of persons employed by the Indian Tribe and any tribally-
      owned entity (to include entities in which the Indian Tribe maintains at least 51%
      ownership), and
   4. “Expenditures: Total expenditures for the most recently completed fiscal year.” Dept. of
      Treasury.

Certification for Requested Tribal Data, OMB Approved No. 1505-0264, Exp. 10/31/2020

https://forms.treasury.gov/caresact/stateandlocal (last visited April 19, 2020).

       Notably, federally recognized Indian tribes have citizens (or “members”) who make up

their populations, not “shareholders.” And, most (but not all) Indian tribes prohibit tribal citizen

enrollment in more than one tribe. See e.g. Muscogee (Creek) Nation Cons. art III, sec. 2 (“an

enrolled member of another Indian tribe, nation, band, or pueblo shall not be eligible for

citizenship”); Tulalip Tribes Code Ch. 5.10.010 (prohibiting dual enrollment); Seminole Nation of

Oklahoma Code Title 22, sec. 101(c) (containing a dual enrollment prohibition). The Certification

form invites ANCs to register for these relief funds as if they were federally recognized Indian

tribes, and thereby allows for multiple payments to the same constituents, since a single Alaska

Native may be both a citizen of one of Alaska’s 229 federally recognized Indian tribes and a

“shareholder” of a regional corporation or a village corporation. See Cook Inlet Region, Inc.,



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Shareholder 101, available at https://www.ciri.com/shareholder-101-3/ (last visited Apr. 21,

2020) (stating that ANCSA Alaska Natives may own stock in at least one regional corporation and

at least one village corporation); see also Cook Inlet Region, Inc., CIRI Shareholder Handbook,

available at https://www.ciri.com/wp-content/uploads/2016/09/SH-Handbook-2016.pdf (last

visited Apr. 21, 2020) (“[a]n individual who is enrolled in a tribe may []be enrolled as a shareholder

of an ANCSA regional or village corporation”).

       Alaska Natives can also inherit stock, meaning that it is possible for a single individual,

who is a shareholder of stock in a regional corporation and a village corporation, to also become a

shareholder of stock in additional regional corporations and their associated village corporations

through inheritance. See 43 U.S.C. § 1606(g) (recognizing the ability of Alaska Natives to receive

ANC stock by gift or inheritance; see also Sealaska Life Estate Enrollment, available at

https://mysealaska.com/Services/Enrollment (last visited Apr. 21, 2020) (recognizing gifts or

inheritance as permissible justifications for a shareholder to own stock in another regional

corporation), Doyon, Limited, Class C (Children) Stock Application,                     available at

https://www.doyon.com/wp-content/uploads/2018/06/Class-C-Fillable.pdf (last visited Apr. 21,

2020) (asking applicants to check “all” regional corporations in which their parents are

shareholders), and Bristol Bay Native Corporation, BBNC Gift of Stock, available at

https://www.bbnc.net/wp-content/uploads/2016/04/BBNC-Gift-of-Stock-2020.pdf (last visited

Apr. 21, 2020) (providing a form for shareholders to complete if they wish to gift regional

corporation stock to another individual).

       The bottom line is this: the Certification allows a single Alaska Native to be counted

towards the “population” of three or more entities: as a “shareholder” of one or more regional

corporations and one or more village corporations, and as a “citizen” or “member” of an Alaska



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Native Tribal government. This scenario, with a single individual counted multiple times for these

relief funds, would contribute toward an inequitable distribution of precious resources away from

the Tribal governments for which they were intended. Such methodology would result in the

inequitable disbursement of relief funds to large for-profit corporations that are not recognized

tribal governing bodies, and thereby shortchange the federally recognized Tribal governments

responsible for preparing for, and combatting COVID-19 in tribal communities.

       This is a complete anathema to the federal government’s relationship to Indian tribes.

Indeed, in Title III of List Act (the Tlingit and Haida Status Clarification Act), Congress made

clear that citizens of Indian tribes should not be counted multiple for federal funding purposes.

Addressing federal funding allocations to a consortium of Alaska Native villages, Congress

announced, “In no event shall dually enrolled members result in duplication of Federal service

funding.” List Act, § 205, codified at 25 U.S.C. § 1215.

       In addition, while the Treasury’s allocation formula for these relief funds is still unknown,

if it allocates according to a formula weighted on “land base” or “employees,” the ANCs stand to

take the lion’s share of these already meager funds targeted for Indian tribes.

              i.   Land base

       ANCs are massive landholders in the State of Alaska, collectively owning nearly 40 million

acres. See generally ANCSA Reg’l Ass’n, The Twelve Regions, https://ancsaregional.com/the-

twelve-regions/ (last visited April 19, 2020). ANCSA permitted village corporations to select a

total of twenty-two million acres of land, to be based on the Native population of each recognized

village. 43 U.S.C. § 1611(c). The regional corporations were also allowed to select an additional

sixteen million acres, based solely on the size of the region and without regard to Alaska Native

population. Id.; see Hirschfield, supra at 1336.



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       ASRC holds title to more than 5 million acres, Calista Corporation holds title to more than

6.5 million acres, and Doyon Limited owns 12.5 million acres. Res. Dev. Council, Alaska Native

Corporations, available at https://www.akrdc.org/alaska-native-corporations (last visited April 19,

2020). The landholdings of these three ANCs “dwarf nearly every federally recognized Indian

nation in the lower 48.”13 Acee Agoyo, Indianz.Com, Alaska Native corporations in line for

billions    in   coronavirus   relief   promised    to   tribes,   Apr.   14,   2020,   available     at

https://www.indianz.com/News/2020/04/14/alaska-native-corporations-in-line-for-b.asp                (last

visited April 19, 2020). In stark contrast to large-landholding ANCs, a significant number of

federally recognized Indian tribes have extremely small or diminished reservations or no land base

at all. See National Congress of American Indians, Resolution #MKE-17-059 (2017) (recognizing

that “most [tribal] reservations [or land holdings] are insufficient as a viable land base”).

       Further, unlike the tribal lands held in trust for the Metlakatla Indian Community and

Indian tribes in the Lower 48 states, “[ANCs] can immediately convey former reservation lands to

non-Natives, and such corporations are not restricted to using those lands for Indian purposes.”

Alaska v. Native Vill. of Venetie Tribal Gov't, 522 522 U.S. 520, 533 (1998). In fact, the Supreme

Court in Venetie held that ANCSA lands are held in fee simpler and are therefore not Indian land

and left it for Congress to determine otherwise. Id. at 534.

       This fact alone makes it unreasonable to consider such lands in any formula for relief fund

distribution intended for Indian tribes and associated with addressing the COVID-19 pandemic in

Indian country, as that term is defined under federal law. See 18 U.S.C. § 1151.



13
   The one Indian tribe with a land base larger than any of the ANCs is the Navajo Nation, which
had 1,321 cases positive COVID cases and had experienced 43 deaths as of April 20, 2020. See
id.; see Navajo Times, COVID-19 Across the Navajo Nation, available at
https://navajotimes.com/coronavirus-updates/covid-19-across-the-navajo-nation/ (last visited
Apr. 21, 2020).
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                 ii.   Employees

       In a similar vein, regional corporations employ such large numbers of employees globally

that their inclusion in the CRF formula would disproportionally tilt this factor in favor of ANCs

and away from Tribal governments. ASRC alone employs approximately 15,000 individuals in its

operations around the world, with only 23% of those employees located in Alaska. Res. Dev.

Council, Alaska Native Corporations, available at https://www.akrdc.org/alaska-native-

corporations (last visited April 19, 2020). In addition, NANA Regional Corporation employs

13,000 people (32% in Alaska), Chugach employs 6,000 people (18% in Alaska), and several other

ANCs employ 1,000 or more people, largely outside of Alaska. Id. These employment figures are

more consistent with the multinational companies with whom regional corporations compete with

than they are with Indian tribes, many of whom employ predominantly reservation residents

alongside a small percentage of non-Indians living near the reservation.

       D. ALLOCATION OF THE RELIEF FUNDS TO THE SOVEREIGN ALASKA NATIVE TRIBAL
          GOVERNMENTS, NOT TO PRIVATE ALASKA NATIVE CORPORATIONS, PROPERLY
          ALLOWS THESE TRIBAL GOVERNMENTS, LIKE ALL OTHERS, TO FAIRLY SEEK
          FEDERAL FUNDS IN THE INTERESTS OF THEIR CITIZENS.

       The 229 federally recognized Indian tribes in Alaska – the Alaska Native villages –are the

governments that will fashion policy decisions on behalf of their citizens to respond to the

coronavirus pandemic. That is the exercise of inherent sovereignty and the pursuit of self-

determination.

       These Tribal governments presumably have submitted the Certifications and provided

sensitive data to Treasury to set out their government needs. In doing so, they had the option to

account for their budgetary expenditures and needs. The rules around Tribal government use of

CARES Act relief funds is flexible enough to account for the budgetary impacts felt by any of the

229 Alaska Native Tribal governments. As suggested in a letter by United States Senator Lisa

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Murkowski, the unique relationships between Alaska Native Tribal governments and ANCs

requires that the “Tribes [be] afforded the ability to designate award of their portion of the Relief

Funds to their respective regional organization.” Letter from Lisa Murkowski, United States

Senator, to Steven T. Mnuchin, Secretary of Treasury, U.S. Dept. of Treasury, and David

Bernhardt, Secretary of Interior, Dep’t of Interior at 4 (Apr. 14, 2020). According to Senator

Murkowski, “Alaska’s Tribes must be able to use their resources in a way that provides relief to

their communities in the way that works for” the Tribes. Id. In Alaska, that means allowing relief

funds to flow directly only to Tribal governments that, as federally recognized sovereigns, bear

responsibility to serve citizens at risk of coronavirus.

       Congress intended the delivery of funds from the $8 billion CARES Act tribal set-aside

fund to “Tribal governments”, not what the Supreme Court describes as “state-chartered and state-

regulated private business corporations,” Alaska v. Native Village Tribal Gov’t, 522 U.S. 520, 534

(1998), with shareholders that include non-Indians, 43 U.S.C. §§ 1606(h)(2), (h)(3)(D), 1607(c).

ANCs are not controlled by a governing body, like a sovereign government, and they “do[] not

meet [even] one of the basic criteria of an Indian tribe.” Seldovia Native Ass’n v. Lujan, 904 F.2d

1335, 1350 (9th Cir. 1990). Indeed, as set out above, they are not “recognized by” the federal

government, they have no government-to-government relationship with it, and they do not possess

or exercise inherent sovereign powers. To be fair, the shareholders of ANCs may be (but are not

required to be) Alaska Natives and those shareholders may be elected leaders of federally

recognized Indian tribes in Alaska, but that correlation does not imbue ANCs with the unique

dignitary status of the sovereign Indian tribes responsible for dealing with a pandemic crisis in a

manner that protects and preserves the best interests of their citizenries.




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                                       CONCLUSION

       For all of the above reasons, the Court should grant the Plaintiffs’ Motion for Temporary

Restraining Order and Preliminary Injunction.

Dated: April 23, 2020                       Respectfully submitted,

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                                            Sovereignty Protection Fund; National Indian
                                            Gaming Association; Arizona Indian Gaming
                                            Association; and California Nations Indian Gaming
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on April 23, 2020, I electronically filed the foregoing brief, together

with Exhibits A through F, with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.

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